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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 ERIC X. RAMBERT,                           )
                                            )        Civil Action No. 20 – 948
                           Petitioner,      )
                                            )
                      v.                    )        District Judge David S. Cercone
                                            )        Magistrate Judge Lisa Pupo Lenihan
 LEE ESTOCK and ATTORNEY                    )
 GENERAL JOSH SHAPIRO,                      )
                                            )
                           Respondents.     )


                                     MEMORANDUM ORDER

          Eric X. Rambert (“Petitioner”) has submitted a Motion for Leave to Proceed in forma

pauperis (ECF No. 2) along with a Motion for Reconsideration (ECF No. 2-1). Both Motions

were referred to United States Magistrate Judge Lisa Pupo Lenihan in accordance with the

Magistrate Judges Act, 28 U.S.C. § 636(b)(1), and Rule 72 of the Local Rules for Magistrate

Judges.

          On July 10, 2020, Judge Lenihan filed a Report and Recommendation (“R&R”) wherein

she recommended the following: (1) the Motion for Leave to Proceed in forma pauperis be

granted solely for the purpose of filing Petitioner’s Motion for Reconsideration, (2) the Motion

for Reconsideration be construed as a Petition for Writ of Habeas Corpus filed pursuant to 28

U.S.C. § 2254, (3) the Petition for Writ of Habeas Corpus be dismissed for lack of jurisdiction as

an unauthorized second or successive petition, and (4) a certificate of appealability be denied to

the extent that one is required to proceed on appeal. (ECF No. 3.) Petitioner was served with the

R&R and filed timely Objections thereto on July 22, 2020. (ECF No. 4.)

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         Pursuant to 28 U.S.C. § 636(b)(1)(C), this Court must now make a de novo determination

of those portions of the R&R to which objections were made. The Court may accept, reject, or

modify, in whole or in part, the findings or recommendations made by the magistrate judge. The

Court may also recommit the matter to the magistrate judge with instructions.

         Upon review of the R&R and Petitioner’s Objections thereto, the Court concludes that the

Objections do not undermine the R&R’s recommended disposition. Accordingly, the following

order is now entered.

                           AND NOW, this 16th day of October, 2020;

         IT IS HEREBY ORDERED that the R&R (ECF No. 3) is adopted as the opinion of the

Court.

         IT IS FURTHER ORDERED that the Motion for Leave to Proceed in forma pauperis

(ECF No. 2) is GRANTED solely for the purpose of filing the Motion for Reconsideration (ECF

No. 2-1).

         IT IS FURTHER ORDERED that the Motion for Reconsideration (ECF No. 2-1) is

construed as a Petition for Writ of Habeas Corpus filed pursuant to 28 U.S.C. § 2254.

         IT IS FURTHER ORDERED that the Petition for Writ of Habeas Corpus is

DISMISSED for lack of jurisdiction as an unauthorized second or successive petition.

         IT IS FURTHER ORDERED that a certificate of appealability is DENIED.

         IT IS FURTHER ORDERED that the Clerk of Court mark this case CLOSED.

         AND IT IS FURTHER ORDERED that pursuant to Rule 4(a)(1) of the Federal Rules

of Appellate Procedure, Petitioner has thirty (30) days to file a notice of appeal as provided by

Rule 3 of the Federal Rules of Appellate Procedure.

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                                              By the Court:


                                              s/ David S. Cercone
                                              David S. Cercone
                                              United States District Judge

Cc:   Eric X. Rambert
      AM-9223
      SCI Pine Grove
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